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 ____________________________________________________________________________
                                                             SO ORDERED,




                                                             Judge Jason D. Woodard
                                                             United States Bankruptcy Judge


        The Order of the Court is set forth below. The case docket reflects the date entered.
 ____________________________________________________________________________
                                  UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF MISSISSIPPI
 In re:
 Linda Lee Glover                                                                       Case No.: 23-11518-JDW

                   DEBTORS.                                                            Chapter 13

                                 ORDER CONFIRMING CHAPTER 13 PLAN

          The debtor’s plan was filed on May 22, 2023, and amended/modified by subsequent order(s) of the
court, if any. The plan was transmitted to creditors pursuant to Bankruptcy Rule 3015. The court finds that the
plan meets the requirements of 11 U.S.C. § 1325.

IT IS ORDERED THAT:

1.   The debtor’s chapter 13 plan attached hereto is confirmed.

2.   The following motions are granted (if any):

     a.   Motion for valuation of security, payment of fully secured claims, and modification of undersecured
          claims made under Rule 3012 (§ 3.2 of the plan);
     b.   Motion to avoid lien pursuant to Section 522 (§ 3.4 of the plan).

3.   The stay under Section 362(a) is terminated as to the collateral only and the stay under Section 1301 is
     terminated in all respects regarding collateral listed in Section 3.5 of the plan (if any).

4.   All property shall remain property of the estate and shall vest in the debtor only upon entry of discharge. The
     debtor shall be responsible for the preservation and protection of all property of the estate not transferred to
     the trustee.

5.   The debtor’s attorney is awarded a fee in the amount of $4,000.00, of which $3,464.00 is due and payable
     from the estate.

                                               ##END OF ORDER##

 Approved:

 /s/ Jimmy E. McElroy
 Attorney for the Debtor



 Submitted by:
 Locke D. Barkley, Ch. 13 Trustee
 6360 I-55 North, Suite 140
 Jackson, MS 39211
 (601) 355-6661
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Fill in this information to identify your case:
Debtor 1               Linda Lee Glover
                          Full Name (First, Middle, Last)
Debtor 2
(Spouse, if filing)       Full Name (First, Middle, Last)
                                                              NORTHERN DISTRICT OF
United States Bankruptcy Court for the                            MISSISSIPPI                                      Check if this is an amended plan, and
                                                                                                                   list below the sections of the plan that
Case number:              23-11518                                                                                 have been changed.
(If known)




Chapter 13 Plan and Motions for Valuation and Lien Avoidance                                                                                       12/17


Part 1:       Notices

To Debtors:             This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                        indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                        do not comply with local rules and judicial rulings may not be confirmable. The treatment of ALL secured and priority
                        debts must be provided for in this plan.

                        In the following notice to creditors, you must check each box that applies

To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                        an attorney, you may wish to consult one.

                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
                        to confirmation on or before the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case
                        (Official Form 309I). The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation
                        is filed. See Bankruptcy Rule 3015.

                        The plan does not allow claims. Creditors must file a proof of claim to be paid under any plan that may be confirmed.

                        The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                        plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the
                        provision will be ineffective if set out later in the plan.

1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in            Included                 Not Included
             a partial payment or no payment at all to the secured creditor
1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,              Included                 Not Included
             set out in Section 3.4.
1.3          Nonstandard provisions, set out in Part 8.                                                       Included                 Not Included


Part 2:       Plan Payments and Length of Plan

2.1          Length of Plan.

The plan period shall be for a period of 60 months, not to be less than 36 months or less than 60 months for above median income debtor(s). If
fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to creditors
specified in this plan.

2.2          Debtor(s) will make payments to the trustee as follows:

Debtor shall pay     $767.00 ( monthly, semi-monthly, weekly, or                   bi-weekly) to the chapter 13 trustee. Unless otherwise ordered by
the court, an Order directing payment shall be issued to the debtor’s employer at the following address:

                      Direct pay




APPENDIX D                                                                Chapter 13 Plan                                                 Page 1
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Debtor               Linda Lee Glover                                                          Case number        23-11518

Joint Debtor shall pay       ( monthly,       semi-monthly,       weekly, or    bi-weekly) to the chapter 13 trustee. Unless otherwise ordered by the
court, an Order directing payment shall be issued to the joint debtor’s employer at the following address:




2.3            Income tax returns/refunds.

               Check all that apply
                        Debtor(s) will retain any exempt income tax refunds received during the plan term.

                        Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                        return and will turn over to the trustee all non-exempt income tax refunds received during the plan term.

                        Debtor(s) will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

Part 3:        Treatment of Secured Claims

3.1            Mortgages. (Except mortgages to be crammed down under 11 U.S.C. § 1322(c)(2) and identified in § 3.2 herein.).

               Check all that apply.
                 None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

         Principal Residence Mortgages: All long term secured debt which is to be maintained and cured under the plan pursuant to 11 U.S.C. §
      3.1(a)
         1322(b)(5) shall be scheduled below. Absent an objection by a party in interest, the plan will be amended consistent with the proof of
         claim filed by the mortgage creditor, subject to the start date for the continuing monthly mortgage payment proposed herein.
1     Mtg pmts to FPS Investments LLC
Beginning September, 2023            @              $495.00          Plan         Direct.     Includes escrow   Yes     No

1         Mtg arrears to       FPS Investments LLC                          Through        August, 2023                                        $9,623.17

3.1(b)       Non-Principal Residence Mortgages: All long term secured debt which is to be maintained and cured under the plan pursuant to 11
             U.S.C. § 1322(b)(5) shall be scheduled below. Absent an objection by a party in interest, the plan will be amended consistent with
             the proof of claim filed by the mortgage creditor, subject to the start date for the continuing monthly mortgage payment proposed
             herein.
Property -NONE-
          address:
Mtg pmts to
Beginning month                            @                              Plan            Direct.          Includes escrow Yes No

Property -NONE- Mtg arrears to                                            Through

3.1(c)              Mortgage claims to be paid in full over the plan term: Absent an objection by a party in interest, the plan will be amended
                    consistent with the proof of claim filed by the mortgage creditor.

Creditor:         -NONE-                        Approx. amt. due:                               Int.
                                                                                                Rate*:
Property Address:
Principal Balance to be paid with interest at the rate above:
(as stated in Part 2 of the Mortgage Proof of Claim Attachment)
Portion of claim to be paid without interest: $
(Equal to Total Debt less Principal Balance)

Special claim for taxes/insurance: $                        -NONE- /month, beginning                month .
(as stated in Part 4 of the Mortgage Proof of Claim Attachment)

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* Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District
  Insert additional claims as needed.

  3.2        Motion for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one..

                       None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

  3.3        Secured claims excluded from 11 U.S.C. § 506.

             Check one.
                     None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

  3.4        Motion to avoid lien pursuant to 11 U.S.C. § 522.

  Check one.
                       None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
                       The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                   The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to
                   which the debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or
                   security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the
                   order confirming the plan unless the creditor files an objection on or before the objection deadline announced in Part 9 of the
                   Notice of Chapter 13 Bankruptcy Case (Official Form 309I). Debtor(s) hereby move(s) the court to find the amount of the
                   judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The amount,
                   if any, of the judicial lien or security interest that is not avoided will be paid in full as a secured claim under the plan. See 11
                   U.S.C. § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be avoided, provide the information separately for each
                   lien.
                                                                                                                                      Lien identification
                                                                                                                                         (county, court,
                            Property subject to         Lien amount to be           Secured amount                                   judgment date, date
     Name of creditor                                                                                             Type of lien
                                     lien                     avoided                  remaining                                       of lien recording,
                                                                                                                                      county, court, book
                                                                                                                                      and page number)
   Tower Loan             mower $50, 4 TVs                            $900.00                     $0.00 Agreement                   UCC
                          $800, treadmill $50.
                          Debtor no longer in
                          possession of
                          remaining items
                          listed on UCC
                          filing.

  Insert additional claims as needed.

  3.5        Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.


   Part 4:    Treatment of Fees and Priority Claims

  4.1        General
             Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
             without postpetition interest.

  4.2        Trustee’s fees
             Trustee’s fees are governed by statute and may change during the course of the case.

  4.3        Attorney's fees.

                No look fee:     4,000.00


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                Total attorney fee charged:               $4,000.00

                Attorney fee previously paid:             $536.00

                Attorney fee to be paid in plan per
                confirmation order:                       $3,464.00

              Hourly fee: $        . (Subject to approval of Fee Application.)

4.4        Priority claims other than attorney’s fees and those treated in § 4.5.

           Check one.
                   None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5        Domestic support obligations.

                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:   Treatment of Nonpriority Unsecured Claims
5.1        Nonpriority unsecured claims not separately classified.

           Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
           providing the largest payment will be effective. Check all that apply.
             The sum of $ 0.00
                  % of the total amount of these claims, an estimated payment of $
             The funds remaining after disbursements have been made to all other creditors provided for in this plan.



             If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $0.00
             Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2        Other separately classified nonpriority unsecured claims (special claimants). Check one.

                     None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.


Part 6:     Executory Contracts and Unexpired Leases

6.1        The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
           contracts and unexpired leases are rejected. Check one.

                     None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



Part 7:     Vesting of Property of the Estate

 7.1       Property of the estate will vest in the debtor(s) upon entry of discharge.

Part 8:     Nonstandard Plan Provisions

8.1        Check "None" or List Nonstandard Plan Provisions
                  None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
           x      Upon the filing of a Notice of Postpetition Mortgage Fees, Expenses, and Charges, and absent any objection being filed within 30 days after the
                     filing of said Notice, the Trustee is authorized to pay the amount contained in the Notice as a special claim over the remaining plan term and
                     adjust the plan payment accordingly.

                      The claim(s) filed by Marshall County Chancery Clerk/Tax Assessor, for property taxes, shall be paid directly by the debtor.

Part 9:     Signatures:

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Debtor           Linda Lee Glover                                                            Case number     23-11518


9.1      Signatures of Debtor(s) and Debtor(s)’ Attorney
The Debtor(s) and attorney for the Debtor(s), if any, must sign below. If the Debtor(s) do not have an attorney, the Debtor(s) must provide their
complete address and telephone number.
 X /s/ Linda Lee Glover                                                  X
     Linda Lee Glover                                                          Signature of Debtor 2
     Signature of Debtor 1

     Executed on      May 22, 2023                                             Executed on

     305 Venture Cove
     Address                                                            Address
     Holly Springs MS 38635-0000
     City, State, and Zip Code                                          City, State, and Zip Code

     Telephone Number                                                   Telephone Number


X    /s/ Jimmy E. McElroy                                               Date     May 22, 2023
     Jimmy E. McElroy #2540
     Signature of Attorney for Debtor(s)
     3780 S. Mendenhall
     Memphis, TN 38115
     Address, City, State, and Zip Code
     901-363-7283                                                       #2540 MS
     Telephone Number                                                   MS Bar Number
     mcelroylawms@hotmail.com
     Email Address




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